    Case 1:20-cr-00088-DHB-BKE Document 66 Filed 05/18/21 r ● Page 1 of 1            ,r
                                                                  V- .




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA             :
                          AUGUSTA DIVISION                               o.



IN RE:                                )
                                      ) CR 120-088, Brian Thomas Myers
LEAVE OF ABSENCE REQUEST              )
C. TROY CLARK                         )
May 24-28, 2021                       )




                                    ORDER

      Upon consideration of the Motion for Leave of Absence filed by counsel for

Defendants in the above-cited cases for the dates of May 24-28, 2021 for personal

travel out of the staie^Jihe same is hereby GRANTED.

      This           day of                            2021




                               UNITED STATES DISTRICT COURT
                               SOUTHERN/DISTRICT OF GEORGIA
